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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO | -

1°20 CY 1544

UNITED STATES OF AMERICA ) Civil Action No:
[UNDER SEAL], )
) JUDGE
Relators, ) | AGE i :
)  COMPLA D (SF Q i VE R
v. )
) FILED IN CAMERA AND
[UNDER SEAL}, ) UNDER SEAL PURSUANT TO
) 31 U.S.C. §3730(b)(2)
Respondents. )
MAG. JUDGE PARKER

DOCUMENT TO BE KEPT UNDER SEAL
DO NOT ENTER ON PACER

 
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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

casexort*20 CN 1544

 

UNITED STATES OF AMERICA, ex rel.)
)
TIFFANY MEYER ) JUDGE J oo os Ose
3386 Charles St., ) UD GF: OL] VE H
Cuyahoga Falls, OH 44221 } COMPLAINT FOR VIOLATION OF THE
) FEDERAL FALSE CLAIMS ACT [31
and ) U.S.C. Section 3729 et seq.] AND FOR
} MONEY DAMAGES
TYREEK SMALL )
3386 Charles St., } [DO NOT SERVE]
Cuyahoga Falls, OH 44221 )
) FELED IN CAMERA AND UNDER SEAL
Relater, ) PURSUANT TO 31 U.S.C. § 3730(b)(2)
)
Vv. ) JURY TRIAL DEMANDED
)
THRIVE PEER SUPPORT, LLC ) MAG. JUDGE PARKER
3637 South Green Rd, Ste 3G )
Beachwood, Ohio 44122 )
)
THRIVE BEHAVIORAL HEALTH )
CENTER, INC. )
c/o Bridgette M. Lewis )
600 Superior Ave. Suite 1300 )
Cleveland, OH 44114 )
)
NICOLE WORTHEY — )
4401 Kingsford Ave, )
Cleveland, OH 44128 )
Respondent.

This is a gui fam action by Relators Tiffany Meyer and Tyreek Small, for themselves and
on behalf of the United States, to recover damages and civil penalties arising from Respondents
Thrive Peer Support, LLC, Thrive Behavioral Health Center Inc., (collectively “Thrive” and
Nicole Worthey knowingly presenting or causing to be presented false claims for payment or

approval to the United States.
 

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THE PARTIES

Ll, Relator Meyer is a resident of Ohio and a United States citizen, who is a United
Healthcare Community Plan Ohio Medicaid beneficiary, who sought peer recovery support
services from Thrive. Thrive assigned to her Peer Recovery Specialist Nicole Worthey, who
fraudulently billed Ohio Medicaid for over $45,065.55 of peer recovery support services she
falsely stated she rendered to Relator Meyer.

2. Relator Small is a resident of Ohio and a United States citizen. Relator Small is
Relator Meyer’s fiancé and discovered Nicole Worthey’s fraudulent billing when reviewing
Relator Meyer’s United Healthcare Community Plan online profile.

3, Respondent Thrive is a behavior health service company, which provides peer
recovery support services to persons with mental health conditions and substance use
disorders. Thrive operates out of offices in Cleveland, Columbus, and Dayton.

4, Nicole Worthey is a resident of Ohio and a United States citizen, who Thrive
employs as a supervisor and Peer Support Specialist. She has a prior criminai history of fraud
and identity theft.

JURISDICTION AND VENUE

5, This action arises under the False Claims Act, 31 U.S.C. § 3729 et seq.

6. Jurisdiction over this action is vested in this Court by 31 U.S.C. § 3732(a) and 28
U.S.C. § 1331, in that this action arises under the laws of the United States.

7. Venue is proper in this district under 31 U.S.C. § 3732(a) and under 28 U.S.C. §§
1391(b) and 1391(c). The Respondents can be found, reside, and transacts business within

the district, and the acts proscribed by the False Claims Act occurred within the district.
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THE FALSE CLAIMS ACT

8. The FCA was originally enacted during the Civil War. Congress substantially
amended the Act in 1986 — and, again, in 2009 and 2010 — to enhance the ability of the
United States Government to recover losses sustained due to fraud.

9, The Act imposes liability upon any person who: (A) “knowingly presents, or
causes to be presented, a false or fraudulent claim for payment of approval” or (B)
“knowingly makes, uses, or causes to be made or used, a false record or statement material to
a false or fraudulent claim.” 37 U.S.C. § 3729 (a)(1)(A)(B) (2009).

10. “Claim” is defined as “any request or demand, whether under a contract or
otherwise, for money or property and whether or not the United States has title to the money
or property, that — (i) is presented to an officer, employee, or agent of the United States, or
(ii) is made to a contractor, grantee, or other recipient, if the money or property is to be spent
or used on the Government’s behalf or to advance a Government program or interest, and if
the United States Government — (I) provides or has provided any portion of the money or
property requested or demanded; or (Ii) will reimburse such contractor, grantee, or other
recipient for any portion of the money or property which is requested or demanded.” 31
U.S.C. § 3729(b) (2) (A) (2009).

11. A violation occurs when any person “. .. knowingly conceals or knowingly and
improperly avoids or decreases an obligation to pay or transmit money or property to the
Government.” 37 U.S.C. § 3729(a)(1)(G) (2009).

12, “Obligation” is defined to include: “an established duty, whether or not fixed,

arising from an express or implied contractual, grantor-grantee, or licensor-licensee
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relationship, from a fee-based or similar relationship, or from the retention of any
overpayment.” 3/ U.S.C. $ 3729(b)(3) (2009).

13. Any person who violates the Act is liable for a civil penalty of between $5,500
and $11,000 for each false or fraudulent claim on or before November 2, 2015; and $10,781
and $21,563 for each false or fraudulent claim after November 2, 2015; plus, three times the
damages sustained by the United States.

ALLEGATIONS REGARDING RESPONDENTS’ WRONGDOING

Peer Recovery Support Services in Ohio

14. The Ohio Department of Mental Health and Addiction Services (OhioMHAS)
regulates and governs the provision of peer recovery support services for individuals with a
mental illness or substance use disorder.

15. Peer recovery support services are community-based services for individuals with
a mental illness or substance use disorder, and consist of activities that promote recovery,
self-determination, self-advocacy, well-being, and independence.

16. A “certified peer recovery supporter” is an individual, with a direct lived
experience, who has self-identified as being in recovery from a mental illness health or
substance use disorder and has been certified by OhioMHAS.

17. OhioMHAS certified peer recovery supporters must be supervised by a qualified
individual. They must be supervised by an individual who is licensed social worker,
counselor, therapist, psychologist, psychiatrist, or an individual who has been delivering peer
services for five years. All supervisors complete a sixteen-hour online e-based academy
course offered by OhioMHAS and a four hour in-person supervising peers training by

OhioMHAS recovery support staff.
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Ohio Medicaid Coverage of Peer Recovery Support Services in Ohio

18. Ohio Administrative Code 5160-43-04(C) states peer recovery support services
are an Ohio Medicaid covered service. According to it, peer recovery support services
include:

(a) Assisting the individual with accessing and developing natural support systems in the
community;

(b) Attending and participating in care team meetings;

(c) Conducting outreach to connect individuals with resources;

(d) Coordinating and/or assisting in crisis interventions and stabilization as needed;

(e) Developing and working toward achievement of the individual's personal recovery
goals;

(f) Facilitating development of daily living skills;

(g) Modeling personal responsibility for recovery;

(h) Promoting coordination among similar providers;

(i) Providing group facilitation that addresses symptoms, behaviors, and thought
processes to assist an individual in eliminating barriers to seeking and maintaining
recovery, employment, education, and housing;

(j) Supporting individuals in achieving personal independence as identified by the
individual; and

(k) Teaching skills to effectively navigate the health care delivery system to utilize
services.

19. According to OAC 5160-43-04(C)(2), the following activities are not payable

under peer recovery support services:

(a) Assistance with activities of daily living as defined in rule OAC 5160-3-05 of the
Administrative Code;

(b} Management of medications; and

(c) Performance of activities covered under other services.

20. According to OAC 5160-43-04(C)\(3), to be a provider and submit a claim for
payment of peer recovery support services, the provider delivering the service must meet all
of the following requirements:

(a) Comply with all rules set forth in this chapter and Chapter 5160-27 of the
Administrative Code;

(b) Request payment for the provision of services in accordance with rule 5160-27-05 of
the Administrative Code;

(c) Be certified by OhioMHAS under section 5119.36 of the Revised Code;
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(d) Not be the individual's legally responsible family member, as defined in rule 5160-
43-01 of the Administrative Code;
(e) Be identified as the provider and have specified on the individual's person-centered
care plan, that is prior approved by ODM or its designee, the number of hours the
provider is authorized to furnish services to the individual;
(f) Provide services that are supported by an identified need or recovery goal in a manner
that supports and respects the individual's communication needs including translation
services, and/or assistance with communication devices;
(g) Not provide peer recovery support activities simultaneously with other rehabilitation
services available under the state plan; and
(h) Be supervised by other senior peers or non-peer staff that have been certified to
supervise peers and receive regularly scheduled clinical supervision from a person

meeting the qualifications of a behavioral health professional with experience

regarding this specialized behavioral heaith service.

21. According to OAC 5160-43-04(C)(4), all peer recovery support service providers

must keep a record for each individual served that contains at a minimum:

(a) A copy of the current person-centered care plan; and

(b) Documentation of each service interaction including the duration peer recovery
support was provided.

22. According to OAC 5160-43-08 payment rates for peer recovery support services

may be found in OAC 5160-1-60. In accordance with OAC 5160-1-60, Ohio Department of

Medicaid published on November 27, 2019 a “Medicaid Behavioral Health State Plan

Services Provider Requirements and Reimbursement Manual” which provides the following

rates for peer recovery support services:

 

Substance Use Disorder Peer Recovery Support

 

 

 

 

 

 

 

Service Provider Type Code | Practitioner Procedure Rate
Moditier Modifier
SUD Individual Peer Peer recovery H0038 | HM, HN, HO - $15.51
Recovery Support supporter
SUD Group Peer Recovery Peer recovery H0038 | HM, HN, HO HQ $1.94
Support supporter
Unit Value 15 minutes (Maximum 4 hours can be billed per day)
Mental Health Peer Recovery Support
Service Provider Type Code | Practitioner Procedure Rate
Modifier Modifier
Assertive Community Peer recovery H0040 | HM - $159.24

Treatment

 

supporter

 

 

 

 

 

Unit Value

 

I representing a per diem

 

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Thrive’s Organization and Billing Process

23,

Thrive has offices in Cleveland, Columbus, and Dayton, but operates throughout

all Ohio. It is managed by Clinical Director Rhonda Hooks and CFO Brian Bailys. Thrive

employs people in the following positions:

 

 

 

 

 

 

 

 

Job Tithe Job Description and Requirements Pay per Hr
Peer Recovery A trained individual who has lived experience with addiction to alcohol $14.00 to
Supporter - Certified and/or drugs who provides one-to-one strengths-based support to peers in | $47.75
recovery, empowering them to make healthier choices on a day-to-day
basis. High School Diploma or GED equivalent & Certified Ohio Peer
Recovery Coach (preferred).
Peer Recovery A peer recovery supporter who is connected with dividuals inside 316,00
Supporter - Certified - | Emergency Departments immediately following an overdose. High School
Hospital Diploma or GED equivalent & Certified Ohio Peer Recovery Coach-
SUD.
Peer Recovery A peer recovery supporter who is responsible for providing support and $16.00
Supporter - Adult Care | advocacy for peers in Adult Care Facilities. High School Diploma or GED
Facilities equivalent. Certified Ohio Peer Supporter, or certification in progress.
Billing Specialist An individual responsible for processing all health insurance claims for
the company. They ensure correct billing codes and patient information in
the Electronic Medical Record system, and prepare, review, and transmit
claims using billing software to third party payers.
Counselor - An individual who provides a combination of peer support and $50.00 to
Community psychological services to adults in the community. Services include $65.00
comprehensive assessment and treatment of mental health conditions and
substance use disorders. LPC/LSW, LISW/LPCC, or RN required.
Area Relations An individual responsible for customer relation management and overall | Salary

 

 

 

 

 

Coordinator success of the programs in an area for Substance Abuse/Mental stability
support. They must assist with the management and supervision of team
teads within their area. Requires Ohio Peer Recovery Coach Certificate
and State Certified Supervision Certificate. =
24. From enrollment to billing, Thrive uses the following process: (i) an Ohio

Medicaid beneficiary contacts or is referred to Thrive; (ii) a Thrive case manager conducts an

initial assessment and assigns a peer recovery supporter; (iii) a peer recovery supporter

contacts the Ohio Medicaid beneficiary to schedule peer support services; (iv) the peer

recovery supporter performs peer support services for the Ohio Medicaid beneficiary; (v) the

peer recovery supporter documents the service on a physical or electronic document the Ohio

Medicaid beneficiary signs; (vi) the peer recovery supporter submits their time for the service
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to a Thrive billing specialist using an electronic medical record system; and (vii) the billing
specialist transmits the peer recovery supporter’s claim under their NPI and Medicaid #.
Thrive and Nicole Worthey’s Fraudulent Scheme
25. Asa Peer Recovery Specialist Supervisor for Thrive, Nicole Worthey with Thrive
management’s knowledge regularly engaged in the following fraudulent practices:

(a) Nicole Worthy supervised other peer recovery supporters without certification
because she has not provided peer services for five years;

(b) Nicole Worthy and her subordinate peer recovery supporters billed for services
that are not considered peer recovery support services under OAC 5160-43-
04(C)(1); and

(c) Nicole Worthy and her subordinate peer recovery supporters billed for peer
recovery support services not rendered.

26. Nicole Worthey states on her LinkedIn page that she is a “Certified Peer
Recovery Specialist Supervisor” for Thrive. Exhibit 7. Based on Relator Meyer’s knowledge
and belief, Nicole Worthey manages 6 — 7 peer recovery supporters in the Northeast Ohio
area. She became a certified peer recovery supporter on May 1, 2018. Exhibit 2. She
completed the four hour in-person supervising peers training at OhioMHAS on May 3, 2018.

‘Exhibit 3. | -

27. Nicole Worthey’s LinkedIn education and work history show she is not a licensed
social worker, counselor, therapist, psychologist, psychiatrist or an individual whe has been
delivering peer services for five years; therefore, she could not have been certified to
supervise peers supporters. Exhibit /.

28. OAC 5160-43-04(C)(3)(h) requires all peer recovery supporters to “be supervised

by other senior peers or non-peer staff that have been certified to supervise peers.” Thus, all
 

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Nicole Worthy’s subordinate peer recovery supporters are in violation of OAC 5160-43-
04(C)(3)(h), and therefore, false claims.

29. In addition to falsely supervising other peer recovery supporters, Nicole Worthey
engaged in other fraudulent practices which she teaches and imparts to her subordinate peer
recovery supporters. Based on Relator Meyer’s knowledge and belief, Nicole Worthey told
her subordinates that their job was to be “glorified uber drivers.”

30. When Relator Meyer used Nicole Worthey’s “peer recovery support” services in a
5 month period from January 2019 to May 2019, Nicole Worthey would only drive Relator
Meyer to see Relator Small at an assisted living facility where he was receiving rehabilitation
treatment after heart surgery. These drives took 20 minutes at most per day. Whenever
Relator Meyer asked Nicole Worthey for actual peer recovery support services, Nicole
Worthey told her she was too busy to provide other peer recovery support services.

31. According te OAC 5160-43-04(C)(2), activities covered under other services are
not payable peer recovery support services. Non-emergency transportation services in
Summit County are covered by a statewide program for Medicaid recipients, administered by
the County of Summit Department of Job and Family Services. Thus, non-emergency
transportation services cannot be covered under the peer recovery support services. Further,
simply driving individuals around for personal non-mental health or substance abuse related
reasons, and not providing any follow-on peer recovery support services does not conform
with any peer recovery support service listed in OAC 5160-43-04(C)(1).

32. Nicole Worthey’s purported peer recovery support services are not covered by

Ohio Medicaid peer recovery support program, so any of her billing for such services are

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false claims. Further, Nicole Worthey’s subordinates who engage in the same fraudulent
practice under her direction also submitted false claims,

33. Despite Relator Meyer only seeing Nicole Worthey for at most 20 minutes day
during their drives from January 2019 to May 2019, Nicole Worthey billed Ohio Medicaid
83 times for an average of 3.17 hours of peer recovery support services per bill. Thus, Nicole
Worthey falsely billed Ohio Medicaid for 2 to 3 hours peer recovery support services per bill
at least 83 times for peer recovery support services not rendered.

34. Once Relator Small left the assisted living facility, Relator Meyer no longer
needed Nicole Worthey’s “glorified uber services.” For an approximately 8-month period
from period June 2019 to February 2020, Relator Meyer only used Nicole Worthey’s
purported peer recovery support services three times. Despite this, Nicole Worthey billed
Ohio Medicaid 124 times for peer recovery services during this period, so at least 121 of
these billings are for peer recovery support services not rendered.

35. OAC 5160-43-04(C)(4) requires all peer recovery support providers to keep a
record for each individual served that must contain documentation of each service interaction
including the duration peer recovery support was provided. Nicole Worthey only had Relator
Meyer initial one document to prove a service was rendered and would then forge the
remaining documentation.

36. | Nicole Worthey’s billing for peer recovery support services not rendered are false

claims. Further, Nicole Worthey’s subordinates who engage in the same fraudulent practice

under her direction also are submitting false claims.

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Representative Examples of Thrive and Nicole Worthy’s Fraudulent Scheme

37. In February 2020, Relator Small discovered Nicole Worthey was billing Relator
Meyer for peer recovery support services not rendered from June 2019 to February 2020
when reviewing Relator Meyer’s United Healthcare Community Plan online profile.

38. Upon Relator Meyer’s information and belief, all of the following claims billed
by Nicole Worthey for peer recovery support services rendered to Relator Meyer from
January 2019 to February 2020 are false claims because Nicole Worthey either (a) did not
render a Ohio Medicaid covered peer support service, (b) overbilled the time actually taken

to perform the peer support service, or (c} did not render any peer support service on that

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

date:

Date Claim Number | Amount Billed | Amount Covered | Hours
1/27/2019 19B469692600 $248.16 $248.16 4,00
1/28/2019 198328426900 $124.08 $6.00 2,00
1/29/2019 19B943474600 $108.57 $108.57 1.75
1/29/2019 19B944922400 $139.59 $139.59 2.25
1/30/2019 19E328428800 $124.08 $0.00 2.00
1/31/2019 19B466393800 $186.12 $186.12 3,00
2/1/2019 198943656700 $31.02 $31.02 0.50
2/1/2019 198943657400 $46.53 $46.53 0.75
2/2/2019 198469910400 $7755 $77,55 1.25
2/3/2019 19B469444100 $248.16 $248.16 4,00
2/4/2019 198792030100 $186.12 $186.12 3.00
2/5/2019 19B793636700 $248.16 $248.16 4.00
2/6/2019 19B943661900 $62.04 $62.04 1.00
2/6/2019 19B945859100 $186.12 $186,12 3.00
2/7/2019 19B793637500 $248.16 $248.16 4.00
2/10/2019 19B793635700 $248.16 $248.16 4.00
2/11/2019 191945987900 $186.12 $186.12 3.00
2/12/2019 19B945986200 $201.63 $201.63 3.25
2/15/2019 19B948845400 $248.16 $248.16 4.00
2/LT/2019 19B94598 7000 $248.16 $248.16 4,00
2/23/2019 19D836128000 $155.10 $155.10 2,50
2/24/2019 190439808800 $186.12 $186.12 3,00
2/25/2019 19C437363900 $31.02 $31.02 0,50
2/26/2019 190439813300 $186.12 $186.12 3.00
3/3/2019 190737494800 $248.16 $248.16 4.00
3/5/2019 190737496300 $170.61 $170.61 2,75

 

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PagelD #: 13
3/6/2019 | 19C736498700 $77.55 $77.55 1.25
3/7/2019 | 19737495200 $232.65 $232.65 3.75
3/8/2019 | 19D111920400 $108.57 $108.57 1.75
3/9/2019 | 19D113254700 $77.55 $77.55 1,25
3/10/2019 | 19D113256500 $186.12 $186.12 3.00
3/10/2019 | 19D115736100 $31.02 $31.02 0.50
3/11/2019 | 19D111185300 $232.65 $232.65 3.75
3/12/2019 | 19D115745900 $186.12 $186.12 3.00
3/13/2019 | 19D115747600 $201.63 $201.63 3.25
3/17/2019 | 19D222802700 $170.61 $170.61 2.75
3/18/2019 | 19D222804400 $186.12 $186.12 3.00
3/19/2019 | 19D222981500 $93.06 $93.06 1.50
3/20/2019 | 19D220798100 $77.55 $77.55 1.25
3/22/2019 | 19D321913900 $93.06 $93.06 1.50
3/23/2019 | 19D323447100 $201.63 $201,63 3.25
3/24/2019 | 19D318348200 $248.16 $248.16 4.00
3/27/2019 | 19D597608500 $248.16 $248.16 4.00
3/30/2019 | 19D941806800 $248.16 $248.16 4.00
3/31/2019 | 19D941808600 $248.16 $248.16 4.00
4/2/2019 | 19D936454900 $248.16 $248.16 4,00
4/3/2019 | 19D936452200 $248.16 $248.16 4.00
4/4/2019 | 19D939206000 $31.02 $31.02 0.50
4/5/2019 | 19D941809700 $248.16 $248.16 4.00
4/1/2019 | 19E273743200 $248.16 $248.16 4.00
4/8/2019 | 19E269049400 $248.16 $248.16 4.00
4/10/2019 | 19E230573800 $77.55 $77.55 1.25
4/11/2019 | 19E230306700 $248.16 $248.16 4,00
4/13/2019 | 19E411775200 $248.16 $248.16 4.00
4/14/2019 | 19E411777200 $186.12 $186.12 3.00
4/15/2019 | 19B411236300 $186.12 $186.12 3.00
4/16/2019 | 198667164500 | $248.16 $248.16 4.00 ~
4/17/2019 | 198411779100 $248.16 $248.16 4.00
4/22/2019 | 19H014350300 $248.16 $248.16 4.00
4/23/2019 | 198929961400 $248.16 $248, 16 4.00
4/26/2019 | 19F929959600 $248.16 $248.16 4.00
4/27/2019 | 19929962700 $248.16 $248.16 4.00
4/28/2019 | 19B929964400 $248.16 $248.16 4.00
4/29/2019 | 19E930087500 $139.59 $139.59 2.25
§/2/2019 19E929966300 $248.16 $248.16 4.00
5/5/2019 19F585225800 $248.16 $248.16 4.00
5/7/2019 19F313603500 $248.16 $248.16 4.00
5/8/2019 19F313601900 $248.16 $248.16 4.00
5/9/2019 19F 313608600 $248.16 $248.16 4.00
5/11/2019 | 19F584711600 $248, 16 $248.16 4.00
5/12/2019 | 19F585226500 $248.16 $248.16 4.00
5/15/2019 | 19F585226900 $248,16 $248.16 4.00
5/16/2019 | 19F585227300 $248.16 $248.16 4.00
5/17/2019 | 19F584713200 $248.16 $248.16 4.00

 

 

 

 

 

 

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PagelD #: 14
5/18/2019 | 19G051237300 $248.16 $248.16 4.00
5/19/2019 | 19G051239400 $248.16 $248.16 4.00
§/20/2019 | 19F585227900 $248.16 $248.16 4.00
5/21/2019 | 19G051222300 $248.16 $248.16 4.00
5/24/2019 | 19G051241600 $248.16 $248.16 4.00
5/25/2019 | 19G048516000 $232.65 $232.65 3.75
5/28/2019 | 19G051223800 $248.16 $248.16 4.00
5/30/2019 | 19G048508100 $248.16 $248.16 4.00
5/31/2019 | 19G048984400 $248.16 $248.16 4.00
6/2/2019 | 19G433907900 $248.16 $248.16 4.00
6/4/2019 | 19G431490500 $248.16 $248.16 4.00
6/5/2019 | 19G433910800 $248.16 $248.16 4.00
6/6/2019 | 19G431492200 $248.16 $248.16 4.00
6/1/2019 | 19G694883800 $186.12 $186.12 3.00
6/8/2019 | 19G695050600 $248.16 $248.16 4.00
6/10/2019 | 19G695054100 $201.63 $201.63 3.25
6/13/2019 | 196695052300 $201.63 $201.63 3.25
6/14/2019 | 196694885700 $248.16 $248.16 4.00
6/15/2019 | 19G904051800 $108.57 $108.57 1.75
6/16/2019 | 19G906890200 $248.16 $248.16 4.00
6/22/2019 | 19G906891400 $217.14 $217.14 3,50
6/26/2019 | 19H269613100 $248.16 $248.16 4.00
6/27/2019 | 19H271969700 $248.16 $248.16 4.00
6/29/2019 | 19H512719000 $124.08 $124.08 2.00
6/30/2019 | 19514521000 $248.16 $248.16 4,00
1/2/2019 | 19H515930300 $248.16 $248.16 4.00
1/3/2019 | 19514522400 $170.61 $170.61 2.75
V8/2019 | 19H868481800 $139.59 $139,59 2.25
WA1/2019 | 19H871750100 $248.16 $248.16 4.00
7/12/2019 | 19H871439800 $248.16 $248.16 4.00
7/13/2019 | 19H871752600 | $248.16 $248.16 4.00
1/15/2019 | 19H871754000 $248.16 $248.16 4,00
7/18/2019 | 191455049500 $248.16 $248.16 4.00
U21/2019 | 191455051000 $248.16 $248.16 4.00
1/23/2019 | 191453998000 $248.16 $248.16 4.00
1/24/2019 | 191453999600 $248.16 $248.16 4.00
1/28/2019 | 191694941600 $248.16 $248.16 4.00
1/29/2019 | 191453982200 $248.16 $248.16 4.00
8/1/2019 191455041400 $248.16 $248.16 4,00
8/3/2019 191455039900 $248.16 $248.16 4.00
8/4/2019 191455037900 $248.16 $248.16 4.00
8/7/2019 191694944600 $248.16 $248.16 4.00
8/9/2019 191694946300 $186.12 $186.12 3.00
8/10/2019 | 191695188300 $248.16 $248.16 4.00
8/15/2019 | 193061005200 $248.16 $248.16 4.00
8/19/2019 | 193061006900 $248.16 $248.16 4.00
8/21/2019 | 193061003400 $248.16 $248.16 4.00
8/22/2019 | 193061008700 $248.16 $248.16 4.00

 

 

 

 

 

 

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PagelD #: 15
8/23/2019 | 193164415200 $248.16 $248.16 4.00
8/25/2019 | 193581221000 $248.16 $248.16 4,00
8/30/2019 | 193581209900 $186.12 $186.12 3.00
9/2/2019 19J581223900 $201.63 $201.63 3,25
9/3/2019 19J581213900 $248.16 $248.16 4,00
9/4/2019 19J688700500 $248.16 $248.16 4.00
9/8/2019 19J688702100 $248.16 $248.16 4,00
9/10/2019 | 191688703800 $248.16 $248.16 4.00
9/11/2019 | 19K060424200 $248.16 $248.16 4,00
9/14/2019 | 19K316330200 $201.63 $201.63 3.25
9/15/2019 | 19K316331900 $248.16 $248.16 4.00
9/19/2019 | 19K316333700 $232.65 $232.65 3.75
9/26/2019 | 19K421867300 $248.16 $248.16 4.00
9/29/2019 | 191632870200 $248.16 $248.16 4.00
9/30/2019 | 19K632874900 $248.16 $248.16 4.00
10/1/2019 | 19K632868400 $248.16 $248.16 4.00
10/2/2019 | 19K632871500 $248.16 $248.16 4.00
10/3/2019 | 19K632873300 $248.16 $248.16 4.00
10/4/2019 | 19K634727700 $93.06 $93.06 1.50
10/6/2019 | 19L182045800 $248.16 $248.16 4.00
10/7/2019 | 191182047500 $248.16 $248.16 4.00
10/13/2019 | _19K979702600 $248.16 $248.16 4.00
10/14/2019 | _19K979727100 $248.16 $248.16 4.00
10/15/2019 | 191175829300 $139.59 $139.59 2,25
10/17/2019 | 191182049100 $232.65 $232.65 3.75
10/21/2019 | 191690818500 $201.63 $201.63 3,25
10/22/2019 | 204936387500 $248.16 $248.16 4,00
10/23/2019 | 191690812000 $248.16 $248.16 4,00
10/27/2019 | 191690816400 $248.16 $248.16 4,00
10/28/2019 | 19L690814100 $248.16 $248.16 4.00
10/30/2019 | 191690829800 $248.16 $248.16 4,00 ~
10/31/2019 | 191690825600 $248.16 $248.16 4,00
11/1/2019 | 19L690827301 $248.16 $248.16 4,00
11/4/2019 | 19M125972000 $248.16 $248.16 4.00
11/5/2019 | 19M136790100 $248.16 $248.16 4.00
11/6/2019 | 19M123527100 $248.16 $248.16 4,00
11/7/2019 | 19M136791300 $248.16 $248.16 4,00
11/9/2019 | 19M1I25903500 $248.16 $248.16 4.00
11/10/2019 | 19M125973600 $248.16 $248.16 4.00
11/11/2019 | 19M123455600 $248.16 $248.16 4,00
11/12/2019 | 19M125976500 $217.14 $217.14 3.50
11/14/2019 | 19M125978400 $248.16 $248.16 4.00
11/15/2019 | 19M125975000 $248.16 $248.16 4.00
11/17/2019 | 19M125980200 $248.16 $248,16 4.00
11/18/2019 | 19M318761700 $248.16 $248,16 4.00
11/19/2019 | 19M590403200 $248.16 $248.16 4.00
11/20/2019 | 19M590408600 $248.16 $248.16 4.00
11/22/2019 | 19M590392500 $232.65 $232.65 3.75

 

 

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PagelD #: 16
14/24/2019 | 19M590406500 $248.16 $248.16 4.00
11/26/2019 | 19590390700 $248.16 $248.16 4.00
11/27/2019 | 19M590404800 $248.16 $248.16 4.00
11/28/2019 | 19M590394100 $248.16 $248.16 4.00
11/29/2019 | 19M590395900 $248.16 $248.16 4.00
12/1/2019 19M992357800 $248.16 $248.16 4.00
12/2/2019 19M992359600 $248.16 $248.16 4.00
12/3/2019 19992361400 $217.14 $217.14 3.50
12/5/2019 19992364400 $170.61 $170.61 2.75
12/8/2019 19M]M992370300 $217.14 $217.14 3.50
12/9/2019 19M992362800 $248.16 $248.16 4.00
12/10/2019 | 19N164154400 $201.63 $201.63 3.25
12/12/2019 | 19N164152400 $248.16 $248.16 4.00
12/13/2019 | 19N164153400 $248.16 $248.16 4.00
12/15/2019 | 20A166212100 $248.16 $248.16 4.00
12/18/2019 ; 20A166213600 $201.63 $201.63 3.25
12/19/2019 | 204166220400 $248.16 $248.16 4.00
12/20/2019 | 20A166215300 $248.16 $248, 16 4.00
12/22/2019 | 20A166216800 $248.16 $248.16 4,00
12/24/2019 | 20A166218600 $248.16 $248.16 4,00
12/25/2019 | 20A168602400 $139.59 $139.59 2.25
12/26/2019 | 20A166210600 $248.16 $248.16 4.00
12/30/2019 | 20A418088900 $248.16 $248.16 4.00
12/31/2019 | 20A418092900 $248.16 $248.16 4,00
1/1/2020 20A418095100 $248.16 $248.16 4.00
1/2/2020 20A418097400 $155.10 $155.10 2.50
1/3/2020 204418099200 $248.16 $248.16 4.00
1/6/2020 20A41 8087300 $248.16 $248.16 4.00
1/7/2020 20A443203500 $248.16 $248.16 4,00
1/8/2020 204443200100 $248.16 $248.16 4.00
1/9/2020 | 204443201600 $248.16 $248.16 4.00 —
1/16/2020 204443205200 $248.16 $248.16 4.00
1/17/2020 204683117700 $263.67 $248.16 4.25
1/20/2020 204938652300 $93.06 $93.06 1.50
1/23/2020 20A936389300 $248.16 $248.16 4.00
1/27/2020 | 20B332354000 $201.63 $201.63 3.25
1/30/2020 20B332350700 $201.63 $201.63 3.25
2/3/2020 20B46702 1600 $139,59 $139.59 2.25
Total Amount Covered $45,056.55
** See Exhibit 4 for United Healthcare Community Plan online profile
screenshots of each faise claim **

 

 

39. Ohio Medicaid through United Healthcare paid $45,056.55 for Nicole Worthey’s

false billings for peer support recovery services, which were either not covered or not

rendered. These examples are representative of Nicole Worthey and her subordinate’s false

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billings for peer support recovery services not covered or rendered to other Ohio Medicaid
beneficiaries.

Thrive and Nicole Worthey’s Knowledge of Fraudulent Scheme

40. Thrive and Nicole Worthey knowingly submitted false billings to Ohio Medicaid
for peer recovery support services that were either (a) supervised by an uncertified
supervisor, (b) not covered by Ohio Medicaid, or (c) not rendered at all.

41. Thrive’s management promoted Nicole Worthey to a supervisor position, despite
her lack of certification and requisite work experience.

42. Nicole Worthey knew her billings for Relator Meyer were false. Soon after
Relator Small discovered the false billings, he confronted Nicole Worthey about them over
the phone. In response, Nicole Worthey first attempted to pay the Relators to not report the
matter. Relators refused. Nicole Worthey then had her boyfriend call the Relators to threaten
them not to report the matter.

43, Nicole Worthey told Relator Small she informed Thrive’s management about her
fraudulent billing of Relator Meyer’s claims, but Thrive’s management failed to stop it or
report it. Further, Thrive’s management incentivized Nicole Worthey and her subordinate
peer recovery supporter’s fraudulent practices by providing bonuses tied to how much they
billed.

44. After Nicole Worthey’s attempts to silence the Relators failed, she filed a
restraining order against the Relators. The court imposed a mutual restraining order per
agreement of the parties. Nicole Worthey’s efforts to stop the Relators from reporting her

fraudulent activity shows she had knowledge of it.

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COUNT L FALSE CLAIMS ACT VIOLATIONS
BILLING FOR FALSELY SUPERVISED SERVICES

45. The allegations in the preceding paragraphs are incorporated by reference.

46. Respondents knowingly presented or caused to be presented numerous false
claims for payment or approval to the United States in violation of 31 U.S.C. § 3729.

47. Each of the Medicaid claim submitted by a Thrive peer recovery supporter
supervised by Nicole Worthey constitutes a “false claim” within the meaning of 31 U.S.C. §
3729, regardless of whether the claim was ultimately paid by the United States, because
Nicole Worthey lacked the requisite work experience to be a certified peer recovery support
supervisor,

48. In submitting or causing to be submitted Medicaid claims as set forth above,
Respondents acted “knowingly,” as that term is defined in 31 U.S.C. § 3729, in that they
acted in at least deliberate ignorance or in reckless disregard of the truth or falsity of the
information submitted in connection with the claims.

49. As aresult of Respondents’ violations of 31 U.S.C. § 3729, the United States has
suffered damages in an amount to be determined at trial. -

WHEREFORE, Relators, on behalf of herself and the United States, prays:

(a) That the Court enter judgment against Respondents in an amount equal to
three times the amount of damages the United States has sustained
because of Respondents’ actions, plus a civil penalty of between $10,781

and $21,563 for each violation of 31 U.S.C. § 3729;

(b) That Relator be awarded the maximum amount allowed under §3730(d) of
the False Claims Act and the False Claims Act;

(c) That Relator be awarded all costs and expenses incurred, including
reasonable attorneys’ fees; and

(d) = That the Court order such other relief as is appropriate.

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COUNT I: FALSE CLAIMS ACT VIOLATIONS
BILLING FOR NON-COVERED SERVICES

50. The allegations in the preceding paragraphs are incorporated by reference.

51. Respondents knowingly presented or caused to be presented numerous false
claims for payment or approval to the United States in violation of 31 U.S.C. § 3729.

52. Each of the Medicaid claims submitted by Nicole Worthey or a Thrive peer
recovery supporter for transportation services unrelated to mental health or substance abuse
constitutes a “false claim” within the meaning of 31 U.S.C. § 3729, regardless of whether the
claim was ultimately paid by the United States, because such services are not covered by
Ohio Medicaid as peer recovery support services.

53, In submitting or causing to be submitted Medicaid claims as set forth above,
Respondents acted “knowingly,” as that term is defined in 31 U.S.C. § 3729, in that they
acted in at least deliberate ignorance or in reckless disregard of the truth or falsity of the
information submitted in connection with the claims.

54,  <Asaresult of Respondents’ violations of 31 U.S.C. § 3729, the United States has

 

suffered damages in an amount to be determined at trial.
WHEREFORE, Relators, on behalf of herself and the United States, prays:

(e) That the Court enter judgment against Respondents in an amount equal to
three times the amount of damages the United States has sustained
because of Respondents’ actions, plus a civil penalty of between $10,781
and $21,563 for each violation of 31 U.S.C. § 3729;

(f) That Relator be awarded the maximum amount allowed under §3730(d) of
the False Claims Act and the False Claims Act;

(g) That Relator be awarded all costs and expenses incurred, including
reasonable attorneys’ fees; and

(d) That the Court order such other relief as is appropriate.

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COUNT If: FALSE CLAIMS ACT VIOLATIONS
BILLING FOR NON-RENDERED SERVICES

55. The allegations in the preceding paragraphs are incorporated by reference.

56. | Respondents knowingly presented or caused to be presented numerous false
claims for payment or approval to the United States in violation of 31 U.S.C. § 3729,

57. Each of the Medicaid claims submitted by Nicole Worthey or a Thrive peer
recovery supporter for peer recovery support services not rendered constitutes a “false claim”
within the meaning of 31 U.S.C. § 3729, regardless of whether the claim was ultimately paid
by the United States.

58. In submitting or causing to be submitted Medicaid claims as set forth above,
Respondents acted “knowingly,” as that term is defined in 31 U.S.C. § 3729, in that it acted
in at least deliberate ignorance or in reckless disregard of the truth or falsity of the
information submitted in connection with the claims.

59. Asaresult of Respondents’ violations of 31 U.S.C. § 3729, the United States has
suffered damages in an amount to be determined at trial.

WHEREFORE, Relators, on behalf of herself and the United States, prays:

(h) ‘That the Court enter judgment against Respondents in an amount equal to
three times the amount of damages the United States has sustained
because of Respondents’ actions, plus a civil penalty of between $10,781

and $21,563 for each violation of 31 U.S.C. § 3729;

(i) That Relator be awarded the maximum amount allowed under §3730(d) of
the False Claims Act and the False Claims Act;

(i) That Relator be awarded all costs and expenses incurred, including
reasonable attorneys’ fees; and

(d) ‘That the Court order such other relief as is appropriate,

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Respectfully submitted,

/s/ Warner Mendenhall

WARNER MENDENHALL, 0070165
LOGAN TROMBLEY, 0096858

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Akron, OH 44304

(330) 535-9160; fax (330) 762-9743
warner@warnermendenhall.com
logan@warnermendenhall.com

 

Attorneys for Relators

JURY DEMAND
Relators hereby demand a trial by Jury pursuant to R. 38 of the Federal Rules of Civil
Procedure.
/s/ Warner Mendenhall

WARNER MENDENHALL, 0070165
Attorney for Relators

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